                       Case 16-17789   Doc 78-2 Filed 11/11/19 Entered 11/11/19 12:51:28       Desc Exhibit
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